8:17-cr-00103-JMG-SMB      Doc # 76    Filed: 08/14/17   Page 1 of 3 - Page ID # 238




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                   Plaintiff,                             8:17-CR-103

vs.                                              PRELIMINARY ORDER OF
                                                      FORFEITURE
MICHAEL GARMAN,

                   Defendant.


      This matter is before the Court on the plaintiff's Motion for Preliminary
Order of Forfeiture (filing 73). The indictment in this case (filing 1) charged
the defendant with, among other things, one count of conspiring to distribute
and possess with intent to distribute methamphetamine, in violation of 21
U.S.C. §§ 841 and 846. Filing 1 at 2. The indictment contained a forfeiture
allegation seeking the forfeiture, pursuant to 21 U.S.C. § 853, of United
States currency seized from the defendant on or about February 9, 2017, on
the basis that it was used to facilitate the commission of the offense and was
derived from proceeds obtained, directly or indirectly, as a result of
committing the offense. Filing 1 at 4. The parties have agreed that the
amount to be forfeited is $13,757. Filing 69 at 1.
      The defendant has pled guilty to the crime alleged and admitted the
forfeiture allegation. Filing 68 at 4; filing 69 at 1; filing 74 at 11. By virtue of
pleading guilty to the charge and admitting the forfeiture allegation, the
defendant has forfeited his interest in the property, and the plaintiff should
be entitled to possession of the property pursuant to 21 U.S.C. § 853.
Therefore, the plaintiff's Motion for Preliminary Order of Forfeiture is
granted.
8:17-cr-00103-JMG-SMB    Doc # 76   Filed: 08/14/17   Page 2 of 3 - Page ID # 239




     IT IS ORDERED:


     1.   The plaintiff's Motion for Preliminary Order of Forfeiture
          (filing 73) is granted.


     2.   Based upon the defendant's guilty plea and admission of
          the forfeiture allegation of the indictment, the plaintiff is
          authorized to seize the $13,757 in United States currency.


     3.   The defendant's interest in the property is forfeited to the
          plaintiff for disposition in accordance with law, subject to
          the provisions of 21 U.S.C. § 853(n)(1).


     4.   The property is to be held by the plaintiff in its secure
          custody and control.


     5.   Pursuant to 21 U.S.C. § 853(n)(1), the plaintiff shall
          publish for at least 30 consecutive days on an official
          Internet government forfeiture site (www.forfeiture.gov)
          notice of this order, notice of publication evidencing the
          plaintiff's intent to dispose of the property in such manner
          as the Attorney General may direct, and notice that any
          person, other than the defendant, having or claiming a
          legal interest in the property must file a petition with the
          Court within 30 days of the final publication of notice or of
          receipt of actual notice, whichever is earlier.



                                    -2-
8:17-cr-00103-JMG-SMB   Doc # 76   Filed: 08/14/17   Page 3 of 3 - Page ID # 240




     6.   Such published notice shall state that the petition referred
          to in paragraph 5, above, shall be for a hearing to
          adjudicate the validity of the petitioner=s alleged interest in
          the property, shall be signed by the petitioner under
          penalty of perjury, and shall set forth the nature and extent
          of the petitioner's right, title, or interest in the property
          and any additional facts supporting the petitioner=s claim
          and relief sought.


     7.   The plaintiff may also, to the extent practicable, provide
          direct written notice to any person known to have alleged
          an interest in the property as a substitute for published
          notice as to those persons so notified.


     8.   Upon adjudication of all third-party interests, this Court
          will enter a final order of forfeiture pursuant to 21 U.S.C. §
          853(n), in which all interests will be addressed.


     Dated this 14th day of August, 2017.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




                                    -3-
